Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.186 Page 1 of 27



                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

      Plaintiff,
                                               No. 1:18-cv-124
v
                                               HON. GORDON J. QUIST
THE CITY OF NORTON SHORES, MAYOR
GARY NELUND, individually and in his
official capacity,
POLICE CHIEF DANIEL SHAW, individually
and in his official capacity,
SERGEANT MATTHEW RHYNDRESS,
individually and in his official capacity,
OFFICER MICHAEL WASSILEWSKI,
individually and in his official capacity,
MARK MEYERS, individually and as city
manager,

F/LT. CHRIS MCINTIRE, Michigan State
Police only in his individual capacity;

ATTORNEY DOUGLAS HUGHES,
individually and acting on behalf of his law
firm,
WILLIAM HUGHES, PLLC, a Michigan law
firm,

ATTORNEY MELISSA MEYERS, individually
and acting on behalf of her law firm,
ATTORNEY MICHELLE MCLEAN,
individually and acting on behalf of her law
firm,
ATTORNEY JOEL BAAR, individually and
acting on behalf of his law firm,
BOLHOUSE, BAAR & HOFSTEE PC, a
Michigan law firm,

      Defendants.

_____________________________________________________________________________

                                        0
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.187 Page 2 of 27



Daniel W. Rudd                         Richard L. Bolhouse 9P29357)
Plaintiff, In Pro Per                  Bolhouse, Hofstee & McLean PC
201 S. Lake Ave.                       Attorneys for Defendants Meyers, McLean,
Spring Lake, MI 49456                  Baar, and Bolhouse,
(231) 446-2532                         Hofstee & McClean PC
daniel@stock20.com                     39996 Chicago Dr., SW
                                       Grandville, MI 49418
                                       616-531-7711
                                       rickb@bolhouselaw.com

Sarah R. Robbins (P81944)              Michael S. Bogren (P34835)
Rock Wood (P41181)                     Plunkett Cooney
Attorneys for Defendant McIntire       Attorney for Defendants City of Norton
Michigan Department of Attorney        Shores, Gary Nelund, Daniel Shaw,
General                                Matthew Rhyndress, Michael Wassilewski,
State Operations Division              Mark Meyers, Douglas Hughes and
P.O. Box 30754                         William Hughes, PLLC
Lansing, MI 48909                      950 Trade Centre Way, Ste. 310
(517) 373-1162                         Kalamazoo, MI 49002
RobbinsS@michigan.gov                  269.226.8822
Woodr5@michigan.gov                    mbogren@plunkettcooney.com

_____________________________________________________________________________


        DEFENDANT CHRIS MCINTIRE’S BRIEF IN SUPPORT OF
                     MOTION TO DISMISS


                                   Bill Schuette
                                   Attorney General

                                    Rock Wood (P41181)
                                    Sarah R. Robbins (P81944)
                                    Assistant Attorneys General
                                    Attorneys for Defendants McIntire
                                    P. O. Box 30736
                                    Lansing, Michigan 48909

Dated: April 13, 2018




                                      1
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.188 Page 3 of 27



                                             TABLE OF CONTENTS

Index of Authorities ........................................................................................................ i

Concise Statement of Issues Presented ....................................................................... iv

Statement of Facts ......................................................................................................... 1

Argument ....................................................................................................................... 3

I.        Plaintiff’s complaint fails to state a claim upon which relief may be
          granted. ............................................................................................................... 3

          A.        Plaintiff fails to state specific acts that would incur liability. ............... 4

          B.        Plaintiff’s Counts 1-4 fail to state a conspiracy claim and should
                    be dismissed. ............................................................................................. 6

          C.        Plaintiff’s state-law claims fail to state a claim for which relief
                    can be granted and should be dismissed. ................................................ 7

                    1.        Plaintiff fails to state a conspiracy to abuse the process
                              and a conspiracy to commit malicious prosecution claims
                              (Counts 5 and 6). ............................................................................ 7

                    2.        Plaintiff fails to state a state law claim of intentional
                              infliction of emotional distress & negligent infliction of
                              emotional distress (Count 7). ........................................................ 9

II.       The Court lacks jurisdiction over Plaintiff’s claims, as the claims are
          time-barred by the applicable statutes of limitations. .................................... 10

III.      Plaintiff’s claims are barred by immunity. ...................................................... 12

          A.        Federal qualified immunity ................................................................... 13

          B.        State-law immunity................................................................................ 16

                    1.        Governmental Tort Liability Act ................................................ 16

                    2.        Odom immunity analysis ............................................................ 17

                    3.        Plaintiff’s negligence claims fail as a matter of law. .................. 19

Conclusion and Relief Requested ................................................................................ 20




                                                                 2
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.189 Page 4 of 27



                                       INDEX OF AUTHORITIES

Cases

Achcroft v. Iqbal,
  556 U.S. 662, 677 (2009) .......................................................................................... 20

Admiral Ins. Co. v Columbia Casualty Ins. Co.,
  486 N.W.2d 351, 358 (Mich. Ct. App. 1992) ............................................................ 13

Amini v. Oberlin Coll.,
 259 F.3d 493, 502 (6th Cir. 2001) ............................................................................ 10

Anderson v. Creighton,
  483 U.S. 635, 638 (1987) .................................................................................... 19, 20

Atlantic Corporation v. Twombly,
  550 U.S. 544, 555-56, 570 (2007) ............................................................................... 9

Ball v. Union Carbine Corp.,
  385 F.3d 713, 721-22 (6th Cir. 2004) ....................................................................... 17

Bassett v. NCAA,
  528 F.3d 426, 430 (6th Cir. 2008) ............................................................................ 10

Bd. of Regents, Univ. of New York v. Tomanio,
 446 U.S. 478, 484 (1980) .......................................................................................... 16

Cruz v Don Pancho Market LLC.,
  171 F. Supp. 3d 657 (W.D. Mich. 2016). .................................................................. 14

Duran v The Detroit News,
 504 N.W.2d 715 (Mich. Ct. App. 1993) .................................................................... 15

Early Detection Center, PC v New York Life Ins. Co.,
  403 N.W.2d 830, 836 (Mich. Ct. App. 1986) ............................................................ 14

Eugene D. v. Karman,
 889 F.2d 701, 706 (6th Cir. 1989) ............................................................................ 20

Fieger v. Gonzales,
  2007 U.S. Dist. LEXIS 59636, 2007 WL 2351006, *26-27 (E.D. Mich. 2007) ........ 21

Fritz v. Charter Twp. of Comstock,
 592 F.3d 718, 722 (6th Cir. 2010) ............................................................................. 11



                                                           i
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.190 Page 5 of 27



Garcia v Thorne,
 520 Fed. Appx. 304 (6th Cir. 2013) ........................................................................... 14

Gillespie v. City of Battle Creek,
  100 F. Supp. 3d 623 (W.D. Mich. 2015) ................................................................... 25

Hamilton v. City of Romulus,
 409 Fed. Appx. 826, 835-36 (6th Cir. 2010) ............................................................ 12

Hardwin v. Straub,
 490 U.S. 536, 539 (1989) .................................................................................... 16, 17

Harlow v. Fitzgerald,
  457 U.S. 800, 818 (1982) .......................................................................................... 19

Hays v. Jefferson Cnty., Ky.,
 668 F.2d 869, 873 (6th Cir. 1982) ............................................................................ 11

Hooks v. Hooks,
 771 F.2d 935, 943-44 (6th Cir. 1985) ....................................................................... 12

Hughes v. Vanderbilt Univ.,
 215 F.3d 543, 547 (6th Cir. 2000) ........................................................................ 1, 17

Latits v. Phillips,
  826 N.W.2d 190, 194 (2012) ..................................................................................... 24

Ledsinger v Burmeister,
  318 N.W.2d 558, 561 (Mich. Ct. App. 1982) ............................................................ 15

Mack v. City of Detroit,
 649 N.W.2d 47 (Mich. 2002)..................................................................................... 23

Occupy Nashville v. Haslam,
  769 F.3d 434, 442 (6th Cir. 2014) ............................................................................ 19

Odom v. Wayne Cnty.,
 760 N.W.2d 217, 224-25 (2008)................................................................................. 23

Parratt v. Taylor,
  451 U.S. 527, 535 (1981) .......................................................................................... 10

Peek v. Mitchell,
  419 F.2d 575, 577 (6th Cir. 1970) ............................................................................ 21

Phifer v. City of Grand Rapids,
  657 F. Supp. 2d 867, 873 (W.D. Mich 2009) ............................................................ 17

                                                           ii
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.191 Page 6 of 27



Poe v. Haydon,
  853 F.2d 418, 423 (6th Cir. 1988.)........................................................................... 19

Roberson v. Tennessee,
  399 F.3d 792, 794 (6th Cir. 2005) ............................................................................ 17

Roberts v Auto-Owners,
  374 N.W.2d 905, 908-09 (Mich. 1985) ................................................................. 8, 15

Robinson v Detroit,
  613 N.W.2d 307, 317 (Mich. 2000)........................................................................... 25

Saucier v. Katz,
  533 U.S. 194, 201 (2001) .......................................................................................... 20

Sevier v. Turner,
  742 F.2d 262, 272 (6th Cir. 1984) ............................................................................ 17

Spadafore v. Gardner,
  330 F.3d 849, 854 (6th Cir. 2003) ...................................................................... 12, 13

Stanton v. Sims,
  134 S. Ct. 3, 5 (2013) ................................................................................................ 19

Terlecki v. Stewart,
  754 N.W. 2d 899, 906 (Mich. Ct. App. 2008) ........................................................... 18

Trzebuckowski v. City of Cleveland,
  319 F.3d 853, 856 (6th Cir. 2003) ............................................................................ 17

Walsh v. Taylor,
 689 N.W.2d 506, 512 (Mich. App. 2004).................................................................. 24

West v. Atkins,
 487 U.S. 42, 48 (1988) .............................................................................................. 10

Wilson v. Layne,
 526 U.S. 603, 614 (1999) .......................................................................................... 19

Rules

Mich. Comp. Laws § 691.1407 (1) ............................................................................... 21




                                                            iii
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.192 Page 7 of 27



            CONCISE STATEMENT OF ISSUES PRESENTED

     1.    Should Plaintiff’s claims be dismissed for failure to properly plead and
           state a claim?

     2.    Are Plaintiff’s claims time-barred by the applicable statute of
           limitations?

     3.    Are Plaintiff’s claims barred by immunity?




                                        iv
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.193 Page 8 of 27



                             STATEMENT OF FACTS

      This is a civil rights action brought under 42 U.S.C. § 1983. Plaintiff

generally alleges that all Defendants violated Plaintiff’s rights over several years

during various encounters with members of the Norton Shores Police Department

and city officials regarding the Plaintiff’s protracted contested child custody dispute

with his ex-wife. Plaintiff’s only contact with Defendant Lieutenant McIntire

regarding the underlying facts of this litigation occurred in late 2015, at which time

Plaintiff requested that an investigation be conducted of some of the other

defendants in this matter, but Lt/ McIntire did not find a basis to proceed, or find

that any crime had occurred.

      As alleged in Plaintiff’s complaint, beginning in 2013, Plaintiff began having

contact with the Norton Shores Police Department regarding Plaintiff’s on-going

child custody battle. At some point, a personal protection order (PPO) against the

Plaintiff was issued and litigated in late 2013 and 2014. In August 2014, Plaintiff

was awarded sole physical custody of his children. In July 2015, Plaintiff filed an

“Official Complaint” with the Norton Shores Police Department. (EFC No. 1-1,

Exhibit A). Plaintiff then met with Chief Gale, the Chief of the Norton Shores

Police Department, to discuss the written complaint. (EFC No. 1, Compl., ¶53,

P.ID.13).

      After Plaintiff’s July 2015 meeting with Chief Gale, Plaintiff telephonically




                                           1
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.194 Page 9 of 27



spoke with Defendant Lieutenant McIntire 1 about the Plaintiff’s concerns with the

Norton Shores Police Department and Norton Shores City officials. (Def. Aff. ¶5) 2.

In September 2015, Defendant Lieutenant McIntire informed Plaintiff via email

that based on Defendant Lieutenant McIntire’s conversations with the Norton

Shores City Manager and Assistant Prosecuting Attorney Roberts for Muskegon

County, no known violation of law pertaining to LEIN information disclosure had

occurred and there was no need for MSP to create a report as the Muskegon County

Prosecutor’s office did not require a report. (Def. Aff. ¶6).

      On November 17, 2015, Plaintiff asked Defendant Lieutenant McIntire via

email if the MSP officer was present at a court proceeding and if the MSP officer

had been subpoenaed to appear. (Def. Aff. ¶8). Defendant Lieutenant McIntire

responded to Plaintiff’s email informing the Plaintiff that the MSP officer had been

present at the Muskegon County Courthouse on Monday, November 9, 2015, subject

to a subpoena. (Def. Aff. ¶8). Defendant Lieutenant McIntire was subpoenaed by

the attorneys representing Ms. Meyers. (Def. Aff. ¶8). Defendant Lieutenant

McIntire did not testify at the proceeding but was present in compliance with the




1During all relevant years, 2013 through the present, Defendant Lieutenant
McIntire has been a First Lieutenant with the Michigan State Police (MSP) and the
Sixth District’s Rockford Post Commander, based in Rockford Michigan.
2 Defendant’s affidavit of facts is provided consistent with LCR 7.1(b) as the
Plaintiff’s statement of facts in the Complaint was not complete and only alluded to
the involvement of Defendant Lieutenant McIntire. The clarifying facts presented
in the affidavit should not convert the Fed. R. Civ. P. 12(b)(6), failure to state a
claim argument, portion of the motion into a motion for summary judgement, as
this case can be dismissed wholly based on the pleadings, and the affidavit supports
the other bases for dismissal. The affidavit of Lt. McIntire is attached as Exhibit 1.
                                            2
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.195 Page 10 of 27



subpoena. (Def. Aff. ¶8).

      Until Defendant Lieutenant McIntire was served with the present complaint

and Plaintiff emailed the MSP officer to confirm service in February 2018, there

had been no contact between the Defendant Lieutenant McIntire and Plaintiff since

the emails in November 2015. (Def. Aff. ¶9).


                                     ARGUMENT

      Plaintiff’s claims are vague, generalized allegations about the alleged conduct

of the behavior of all the Defendants. Nowhere in the complaint are specific actions

by Defendant Lieutenant McIntire alleged to have violated the rights of the

Plaintiff. All of Plaintiff’s counts are general allegations of conspiracy of all

Defendants. Plaintiff’s complaint fails to plead sufficient facts to raise a reasonable

expectation that discovery will reveal evidence of unlawful activity by Defendant

Lieutenant McIntire. For these reasons and the others discussed below, all claims

against Defendant Lieutenant McIntire should be dismissed with prejudice.


I.    Plaintiff’s complaint fails to state a claim upon which relief may be
      granted.

      A motion for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(b)(6)

allows the Court to make an assessment as to whether a Plaintiff's pleadings have

stated a claim upon which relief can be granted. During such an analysis, a court is

required to construe the complaint in favor of the plaintiff and determine whether

the plaintiff's factual allegations present claims plausible on their face. Bell

Atlantic Corporation v. Twombly, 550 U.S. 544, 555-56, 570 (2007). In determining

                                            3
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.196 Page 11 of 27



whether a plaintiff has set forth a “claim to relief that is plausible on its face,”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570),

courts must accept the factual allegations in the complaint as true, Twombly, 550

U.S. at 556. This presumption, however, does not apply to legal conclusions. Iqbal,

556 U.S. at 678.

      A 12(b)(6) inquiry is context-specific and a Court must determine if the well-

pleaded facts “infer more than a mere possibility of [a legal transgression].” Iqbal,

556 U.S. at 679 (quoting Fed. R. Civ. P. 8(a)(2)) (internal citations omitted). When

making its determination, the court may consider the complaint and any exhibits

attached thereto, public records, items appearing in the record of the case, and

exhibits attached to defendant's motion to dismiss so long as they are referred to in

the complaint and are central to the claims contained therein. Bassett v. NCAA,

528 F.3d 426, 430 (6th Cir. 2008) (citing Amini v. Oberlin Coll., 259 F.3d 493, 502

(6th Cir. 2001)).


      A.     Plaintiff fails to state specific acts that would incur liability.

      To state a claim under § 1983, a plaintiff must allege the violation of a right

secured by the Constitution and laws of the United States and must show that the

alleged deprivation was committed by a person acting under the color of state law.

West v. Atkins, 487 U.S. 42, 48 (1988) (citing Parratt v. Taylor, 451 U.S. 527, 535

(1981)). Here, Plaintiff has failed to state a claim which may be pursued under 42

U.S.C. § 1983.




                                            4
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.197 Page 12 of 27



      Plaintiff’s alleged § 1983 Counts (Counts 1-4) offer conclusory statements

rather than concrete factual assertions as to what any individual Defendant did.

Plaintiff only provides conclusory allegations regarding conspiracy, retaliation,

malicious prosecution, and abuse of process (ECF No. 1, Compl., ¶¶ 109-133,

P.ID.24-27), which fail to identify any activity by Defendant Lieutenant McIntire.

At most Plaintiff’s counts assert a vague conspiracy to violate Plaintiff’s civil rights

by all Defendants. All the Defendants are left to guess, or try to discover from

Plaintiff’s intermingled general allegations, what each of them allegedly did wrong.

Such assertions are legally insufficient to state a § 1983 claim.

      To sustain a claim under § 1983, Plaintiff must prove that a) he was deprived

of a right secured by federal law, b) by a person acting under color of law, Fritz v.

Charter Twp. of Comstock, 592 F.3d 718, 722 (6th Cir. 2010). Such claims must

include an actual act by each Defendant. Conclusory allegations are insufficient to

state a claim, as is group pleading. Iqbal, 556 U.S. at 677. Additionally, personal

liability under §1983 requires an allegation that “a defendant has a culpable state

of mind—that the action or failure to act was to some degree deliberate rather than

inadvertent.” Hays v. Jefferson Cnty., Ky., 668 F.2d 869, 873 (6th Cir. 1982). None

of Plaintiff’s 1983 Counts ever mention Defendant Lieutenant McIntire. Rather,

the counts consist of generic, group allegations, which are not sufficient to state a

claim against or impose liability on Defendant Lieutenant McIntire.




                                            5
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.198 Page 13 of 27



      B.     Plaintiff’s Counts 1-4 fail to state a conspiracy claim and
             should be dismissed.

      All of Plaintiff’s §1983 counts are some version of an alleged conspiracy by all

the Defendants. However, all four of these counts fail to state a claim.

      The Sixth Circuit has defined a 1983 civil conspiracy as follows:

      A civil conspiracy is an agreement between two or more persons
      to injure another by unlawful action. Express agreement among
      all the conspirators is not necessary to find the existence of a civil
      conspiracy. Each conspirator need not have known all of the
      details of the illegal plan or all of the participants involved. All
      that must be shown is that there was a single plan, that the
      alleged coconspirator shared in the general conspiratorial
      objective, and that an overt act was committed in furtherance of
      the conspiracy that caused injury to the complainant.

Hooks v. Hooks, 771 F.2d 935, 943-44 (6th Cir. 1985).

      Conspiracy claims must be pled with a degree of specificity. Hamilton v. City

of Romulus, 409 Fed. Appx. 826, 835-36 (6th Cir. 2010) (citing Spadafore v.

Gardner, 330 F.3d 849, 854 (6th Cir. 2003)). Vague and conclusory allegations

unsupported by material facts are insufficient, although circumstantial evidence of

an agreement among all conspirators may provide adequate proof. Id.

Nevertheless, here there is no reading of the facts as alleged that can show any

actions by Defendant Lieutenant McIntire that would indicate evidence of a single

conspiratorial agreement with any of the other Defendants.

      Plaintiff alleges all the Defendants conspired to deprive him of his civil

rights. However, he has failed to provide specific facts of a single conspiracy, failed

to make any specific allegations, and failed to show a connection between any overt

actions of the Defendants and an injury to the Plaintiff. Furthermore, even if his


                                            6
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.199 Page 14 of 27



allegations are true, there are no facts in the record from which it could be inferred

that Defendant Lieutenant McIntire acted in concert with the other Defendants to

injure the Plaintiff. See Spadafore, 330 F.3d at 854 (holding that an arrestee could

not establish § 1983 civil conspiracy claim absent evidence that defendants acted in

concert to violate arrestee's constitutional rights). Plaintiff's vague and conclusory

allegations of a conspiracy are insufficient to state a claim for relief and may not be

used as a basis for liability against Defendant Lieutenant McIntire. Therefore, all

of Plaintiff’s §1983 claims against Defendant Lieutenant McIntire fail and should be

dismissed.


      C.      Plaintiff’s state-law claims fail to state a claim for which relief
              can be granted and should be dismissed.

      Like Counts 1 through 4, Counts 5 through 7 fail to state claims for which

relief can be granted and should be dismissed against Defendant Lieutenant

McIntire. Plaintiff alleges three state-law claims, two of which are conspiracy-

based claims.


             1.   Plaintiff fails to state a conspiracy to abuse the process
                  and a conspiracy to commit malicious prosecution claims
                  (Counts 5 and 6).

      “A civil conspiracy is a combination of two or more persons, by some

concerted action, to accomplish a criminal or unlawful purpose, or to accomplish a

lawful purpose by criminal or unlawful means.” Admiral Ins. Co. v Columbia

Casualty Ins. Co., 486 N.W.2d 351, 358 (Mich. Ct. App. 1992). In Counts 5 and 6 of

the complaint, Plaintiff alleges that all the Defendants conspired to abuse the

                                           7
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.200 Page 15 of 27



process and to maliciously prosecute the Plaintiff. However, “a claim for civil

conspiracy may not exist in the air; rather, it is necessary to prove a separate,

actionable tort.” Early Detection Center, PC v New York Life Ins. Co., 403 N.W.2d

830, 836 (Mich. Ct. App. 1986). Here, Plaintiff’s conspiracy claims fail for several

reasons, including: (1) Counts 5 and 6 consists entirely of conclusory allegations,

and (2) there is no specific actions by the Defendants pled. (Compl. ¶¶ 134-35,

P.ID.28). Such assertions are insufficient to state a claim, as conclusory allegations

are insufficient to state a claim, as is group pleading. Iqbal, 556 U.S. at 677.

Furthermore, simply filing criminal proceedings is insufficient to state a claim 3.

See Garcia v Thorne, 520 Fed. Appx. 304, 307 (6th Cir. 2013) (initiating criminal

proceedings is not abuse of process, and the Court questioned whether such a claim

is even cognizable in a section 1983 case); Cruz v Don Pancho Market LLC., 171 F.

Supp. 3d 657 (W.D. Mich. 2016). Also see Bickerstaff v Lucarelli, 830 F.3d 388, 400

(6th Cir. 2016) (an abuse of process claim will not survive a motion to dismiss when

it is supported only by conclusory allegations regarding defendants’ ulterior

motives).

      In total, Plaintiff fails to plead a conspiracy claim because he wholly fails to

show an underlying tort occurred because he failed to specify Defendants’ actions as

it pertains to Count 5 and 6. At no time was Defendant Lieutenant McIntire




3For the limited purpose of this argument, it is presumed that Plaintiff had
criminal charges filed against him, as Plaintiff does not specifically allege such
action by any of the Defendants, nor does Plaintiff specify which acts by any
Defendant allegedly was an abuse of the processes of the court.
                                           8
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.201 Page 16 of 27



involved in any legal process against the Plaintiff. 4 Therefore, no allegations of

conspiracy to abuse the legal process or maliciously prosecute the Plaintiff can

survive against Defendant Lieutenant McIntire. These counts should be dismissed.


           2.      Plaintiff fails to state a state law claim of intentional
                   infliction of emotional distress & negligent infliction of
                   emotional distress (Count 7).

      To survive a motion to dismiss, a claim for IIED must allege: (1) extreme and

outrageous conduct by the defendant; (2) intent or recklessness; (3) causation; and

(4) severe emotional distress of the plaintiff. Roberts v Auto-Owners, 374 N.W.2d

905, 908-09 (Mich. 1985), holding that liability can be found only where the conduct

has been so outrageous in character, and so extreme in degree, to go beyond all

bounds of decency, and be regarded as atrocious and utterly intolerable in a

civilized community. The defendant’s intent must go beyond simple malice.

Ledsinger v Burmeister, 318 N.W.2d 558, 561 (Mich. Ct. App. 1982); Duran v The

Detroit News, 504 N.W.2d 715 (Mich. Ct. App. 1993) (holding that whether alleged

conduct rises to the level of IIED is a question of law for the court and dismissing

the IIED claim).

      Here, Count 7 fails to set forth a single fact as to Defendant Lieutenant

McIntire, or even refer to him by name. Nowhere in the complaint does Plaintiff




4 Defendant Lieutenant McIntire was present in November 2015 at a court hearing
involving the Plaintiff. However, the appearance of Defendant Lieutenant McIntire
was because he was subpoenaed to appear. Therefore, Defendant Lieutenant
McIntire was not there on his own volition but rather in accordance with a legal
demand to be present. (Aff. Def. ¶8).
                                           9
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.202 Page 17 of 27



allege specific acts of Defendant Lieutenant McIntire, which could be construed as

“extreme and outrageous.” The sole generalized allegation that pertains to

Defendant Lieutenant McIntire is that it is alleged he “demonstrated gross

negligence in violation of their statutory or official duties.” (Compl. ¶ 138, P.ID.28).

Plaintiff wholly fails to allege how Defendant Lieutenant McIntire failed in his

Michigan State Police duties. Consequently, the Complaint completely fails to

allege the legally required elements to state a claim of IIED or negligent infliction.

As such, this Count fails to state a claim and should be dismissed. This Count is

also barred on the basis of immunity, as set forth herein.


II.    The Court lacks jurisdiction over Plaintiff’s claims, as the claims are
       time-barred by the applicable statutes of limitations.

       Alternatively, if this Court determines that Plaintiff’s claims against

Defendant Lieutenant McIntire sufficiently state a federal claim, then the

applicable statute of limitations will bar portions, if not all, of Plaintiff’s claims.

Presently, Plaintiff seeks to allege federal civil rights claims and various state law

claims. However, there is no federal statute of limitation for a section 1983 claim.

So the “[l]limitations period in § 1983 suits are to be determined by reference to the

appropriate “state statute of limitations and the coordinate tolling rules.’” Hardwin

v. Straub, 490 U.S. 536, 539 (1989) (quoting Bd. of Regents, Univ. of New York v.

Tomanio, 446 U.S. 478, 484 (1980)). It is well-established that Michigan’s three-

year period of limitation for personal injuries applies to claims under sections 1983

and 1985. Phifer v. City of Grand Rapids, 657 F. Supp. 2d 867, 873 (W.D. Mich



                                            10
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.203 Page 18 of 27



2009) (citing Wolfe v. Perry, 412 F.3d 707, 714 (6th Cir. 2005)); see Mich. Comp.

Laws § 600.5805(10).

      Additionally, federal law determines when the statute of limitations begins to

run. Roberson v. Tennessee, 399 F.3d 792, 794 (6th Cir. 2005); Sevier v. Turner, 742

F.2d 262, 272 (6th Cir. 1984). A claim accrues when the plaintiff knew or had

reason to know of the injury that is the basis of his claim. Roberson, 399 F.3d at

794; Trzebuckowski v. City of Cleveland, 319 F.3d 853, 856 (6th Cir. 2003). “‘A

plaintiff has reason to know of his injury when he should have discovered it through

the exercise of reasonable diligence.’” Ball v. Union Carbine Corp., 385 F.3d 713,

721-22 (6th Cir. 2004) (quoting Sevier, 742 F.2d at 273). “Courts have taken a

common-sense approach to this task, inquiring as “to what event should have

alerted the typical lay person to protect his or her rights.’” Roberson, 399 F.3d at

794 (quoting Hughes v. Vanderbilt Univ., 215 F.3d 543, 547 (6th Cir. 2000)).

      Moreover, malicious prosecutions claims are subject to a two-year period of

limitation. Mich. Comp. Laws § 600.5805(5). Thus, for Plaintiff’s 1983 claims that

are based on malicious prosecution claims, 5 the applicable statute of limitations is

two years. Hardwin, 490 U.S. at 539. Per the Plaintiff’s assertion of facts, the

alleged malicious prosecution ended when “Judge Pittman dismissed all charges




5For the limited purpose of this argument, it is presumed that at some point from
2013-2015, Plaintiff faced charges that would have threatened his liberty and that
those charges were terminated in his favor as he referenced in his complaint.
However, Defendant Lieutenant McIntire is not admitting that such circumstances
existed as he is without sufficient knowledge or information to assert whether
Plaintiff ever faced such a prosecution.
                                          11
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.204 Page 19 of 27



with prejudice” and the “charges were finally dismissed in plaintiff’s favor on

2/4/16.” (ECF No. 1, Compl., ¶¶104 & 124, P.ID. 23 & 26). The alleged conspiracy

to maliciously prosecute the Plaintiff had to have occurred before the ending

indicated in ¶¶104 & 124. Thus, any claims for the alleged conspiracy would be

time barred as “the conspiracy claim takes on the limitations period for the

underlying wrong that was the object of the conspiracy.” Terlecki v. Stewart, 754

N.W. 2d 899, 906 (Mich. Ct. App. 2008). Any alleged conspiracy to commit

malicious prosecution that occurred before February 4, 2016 is barred by Michigan’s

statute of limitations. Therefore, Count 3 and Count 1 are time barred and should

be dismissed against Defendant Lieutenant McIntire.

       The remaining 1983 claims of the Plaintiff, Counts 2 and 4, may be time

barred if actions are alleged to have occurred prior to three years of the complaint’s

filing date of February 5, 2018. Thus, any conspiracy to commit malicious

prosecution is time barred as it occurred prior to February 4, 2016 and any

remaining 1983 claims are time barred if they occurred prior to February 5, 2015.

Thus, at a minimum Counts 1 and 3 should be dismissed as to Defendant

Lieutenant McIntire as they are time barred, and this Court does not have

jurisdiction over any conspiracy to commit malicious prosecution.


III.   Plaintiff’s claims are barred by immunity.

       If the Court still finds there are remaining well-pled claims against

Defendant Lieutenant McIntire, then this Court should dismiss all Plaintiff’s claims

as Defendant Lieutenant McIntire is entitled to immunity.


                                          12
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.205 Page 20 of 27



       A.     Federal qualified immunity

       Government officials performing discretionary functions generally are

shielded from liability for civil damages where their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would

have known. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). The defense of

qualified immunity generally provides government officials with immunity,

shielding them from civil suits and the assessment of civil damages. Anderson v.

Creighton, 483 U.S. 635, 638 (1987). Qualified immunity gives officials room for

reasonable mistakes in judgment, but is forfeited “when an official’s conduct

violates ‘clearly established statutory or constitutional rights of which a reasonable

person would have known.’” Occupy Nashville v. Haslam, 769 F.3d 434, 442 (6th

Cir. 2014) (quoting Wilson v. Layne, 526 U.S. 603, 614 (1999)); Harlow, 457 U.S. at

818. Thus, qualified immunity “protects all but the plainly incompetent or those

who knowingly violate the law.” Stanton v. Sims, 134 S. Ct. 3, 5 (2013).

       Qualified immunity gives governmental officials some assurance that “they

can perform their duties without fear of monetary liability or the diversions

inherent in litigation.” Poe v. Haydon, 853 F.2d 418, 423 (6th Cir. 1988.)

Consequently, a defendant may raise the defense of qualified immunity in a motion

to dismiss where the plaintiff has either failed to allege facts that a reasonable

official would have understood he or she was violating a clearly established

constitutional right or where such facts are undisputed. Poe, 853 F.2d at 425. As

such, it is not sufficient that a plaintiff cite a generalized right; the alleged violated

right “must have been articulated with a sufficient degree of particularity,” Eugene
                                            13
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.206 Page 21 of 27



D. v. Karman, 889 F.2d 701, 706 (6th Cir. 1989), and the “contours of the right must

be sufficiently clear that a reasonable official would understand that what he is

doing violates that right.” Id. (quoting Anderson v. Creighton, 483 U.S. 635, 640

(1987)).

      To determine if qualified immunity attaches to an official’s conduct, the court

must employ the two-step analysis set forth in Saucier v. Katz, 533 U.S. 194, 201

(2001). First, the court must determine whether, based on the applicable law, the

facts viewed in the light most favorable to the plaintiff show that a constitutional

violation has occurred. If no constitutional right would have been violated, were the

allegations established, “there is no necessity for further inquiries concerning

qualified immunity.” Id. at 201. If, however, a violation could be made out, the

court must then move to step two and determine whether the right was clearly

established at the time of the official’s conduct. Id. This latter inquiry must be

made in light of the specific context of the case, not as a broad general proposition.

Id.

      The obligation is on the Plaintiff to plead sufficient facts to establish each

claimed violation. This requires individual facts establishing liability on the part of

each Defendant, as each government official is only liable for his misconduct.

Achcroft v. Iqbal, 556 U.S. 662, 677 (2009). A pleading that offers “labels and

conclusions” or “a formulaic recitation of the elements of a cause of action” does not

suffice. Id. at 678. Only a complaint that states a plausible claim for relief survives

a motion to dismiss. Id. at 679. Determining whether a complaint meets this



                                          14
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.207 Page 22 of 27



pleading standard “is a context-specific task that requires the reviewing court to

draw on its judicial experience and common sense.” Id.

      Here, Plaintiff’s complaint fails in all respects. As to Defendant Lieutenant

McIntire, the complaint fails to identify any constitutional violations due to the

actions of Defendant Lieutenant McIntire. Therefore, the first step in the Saucier

analysis is not met by Plaintiff. In fact, Defendant Lieutenant McIntire is only

mentioned in four paragraphs in the 138 paragraphs of the twenty-nine-page

complaint. Nowhere does Plaintiff allege Defendant Lieutenant McIntire

committed specific acts legal or otherwise. 6 The sole allegation from Plaintiff about

Defendant Lieutenant McIntire is that “it appears that defendant McIntire acted in

violation of MSP policy,” (ECF No. 1, Compl., ¶ 13, P.ID.4). However, courts

routinely recognize that whether and when a prosecution and investigation is to be

instituted is within the discretion of the authorized government officials. Fieger v.

Gonzales, 2007 U.S. Dist. LEXIS 59636, 2007 WL 2351006, *26-27 (E.D. Mich.

2007), citing Peek v. Mitchell, 419 F.2d 575, 577 (6th Cir. 1970). Accordingly,

Plaintiff does not allege any of his constitutional rights were violated by Defendant

Lieutenant McIntire. Therefore, having failed to identify constitutional violations

from the personal acts of Defendant Lieutenant McIntire, it cannot be found that

any “clearly established” right of the Plaintiff was violated by Defendant Lieutenant

McIntire.




6Plaintiff specifically mentions Defendant Lieutenant McIntire only in paragraphs
13, 56, 97, and 101. (ECF No. 1, Compl.).
                                          15
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.208 Page 23 of 27



      The other claims are plead in the same generalized conclusory way.

Plaintiff’s Counts 1-4 allege violations of 42 U.S.C. §1983 and Counts 5-7 allege

violations of state law, but again do not allege specific acts by Defendant Lieutenant

McIntire. (ECF No. 1, Compl., ¶¶ 109-138, P.ID.24-28). Rather the counts contain

generalized statements such as “the actions of all defendants…” (¶110), “[a]ll

defendant’s (sic) participated…” (¶118), “[a]ll defendants conspired…” (¶¶121, 129).

All of Plaintiff’s Counts are conclusory and without substance. Plaintiff fails to

identify the conduct of any individual defendant in any of the counts and never

alleges any individual conduct of Defendant Lieutenant McIntire. These general

facts, even when viewed in the light most favorable to the Plaintiff, do not show that

a constitutional violation has occurred. Plaintiff does not specify any violation of

the federal laws by Defendant Lieutenant McIntire.

      Because Plaintiff’s complaint does not meet the required pleadings standards

and fails to identify the violation of any protected right by Defendant Lieutenant

McIntire, qualified immunity bars Plaintiff’s claims and all federal claims should be

dismissed.

      B.      State-law immunity

             1.   Governmental Tort Liability Act

      Plaintiff’s complaint raises state-law claims of abuse of process (Count 5),

malicious prosecution (Count 6), and negligent infliction of emotional distress

(Count 7), which are all barred by the Governmental Tort Liability Act (GTLA),

Mich. Comp. Laws § 691.1401 et. seq. or under common-law immunity. While it is

difficult to discern who and what acts allegedly wronged the Plaintiff based on the
                                          16
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.209 Page 24 of 27



allegations of state law violations in the complaint, to the extent he asserts such

claims against the Defendant Lieutenant McIntire, the GTLA provides immunity

from tort liability to a state actor when they engaged in the exercise or discharge of

a governmental function except as otherwise provided by the statute. Mich. Comp.

Laws § 691.1407(1) and (2).

      There are limited and narrowly drawn exceptions to the otherwise broad

grant of immunity to state actors, but they are not applicable to this case. See

Mich. Comp. Laws §§§ 691.1402–1407, 1413. “[U]nless one of the five statutory

exceptions applies, a governmental agency is protected by immunity.” Mack v. City

of Detroit, 649 N.W.2d 47, 55–56 (Mich. 2002). It is “the responsibility of the party

seeking to impose liability on a governmental agency to demonstrate that its case

falls within one of the exceptions.” Id. Plaintiff failed to plead a claim in avoidance

of the GTLA’s immunity grant, and his complaint against the Defendant Lieutenant

McIntire should be dismissed.

           2.     Odom immunity analysis

      A state actor is immune from suit for an intentional tort when (1) acting

during the course of employment or has a reasonable belief he is acting within the

scope of his authority, (2) acting in good faith (or his acts were not undertaken with

malice), and (3) performing discretionary, as opposed to ministerial acts. Odom v.

Wayne Cnty., 760 N.W.2d 217, 224-25 (Mich. 2008) (internal citations omitted).

      Applying the Odom analysis here, only the second prong could even arguably

be at issue. As to the first prong, Plaintiff’s claim against the Defendant Lieutenant

McIntire arises entirely from the alleged investigation or lack of investigation into
                                          17
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.210 Page 25 of 27



Plaintiff’s official complaint of wrongdoing by various Norton Shores officials. As to

the third prong, the Michigan Supreme Court defined ministerial acts to “constitute

merely an obedience to orders or the performance of a duty in which the individual

has little or no choice.” Id. at 226. Discretionary acts such as conducting an

investigation, analyzing information and reporting those facts and analysis require

personal deliberation, decision and judgment. Id. As a result, Plaintiff’s intentional

tort claim (Count 7) is based on discretionary actions performed by Defendant

Lieutenant McIntire.

      The second prong requires the government actor to establish his good faith or

an absence of malice. Latits v. Phillips, 826 N.W.2d 190, 194 (Mich. Ct. App. 2012).

The Michigan Supreme Court described a lack of good faith as “malicious intent,

capricious action or corrupt conduct” or “willful and corrupt misconduct. . . .” Odom,

482 Mich. at 474. As a result, the trial court obligation “to evaluate the specific

conduct alleged to determine whether a valid exception exists” cannot be ignored.

Walsh v. Taylor, 689 N.W.2d 506, 512 (Mich. App. 2004). The complaint alleges no

facts from which to conclude that Defendant Lieutenant McIntire acted maliciously

or capriciously. The absence of malice is demonstrated by the lack of substantive

allegations with regard to the specific conduct of Defendant Lieutenant McIntire.

Because there is no reasonable factual inference of bad faith to be drawn, Plaintiff

cannot overcome the immunity afforded to Defendant Lieutenant McIntire and

Count 7 should be dismissed.




                                          18
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.211 Page 26 of 27



           3.     Plaintiff’s negligence claims fail as a matter of law.

      Negligent acts are accorded immunity when the government actor (1) is

acting or reasonably believes he or she is acting within the scope of his or her

authority, (2) the governmental agency is engaged in the exercise or discharge of a

governmental function, and (3) the actor’s conduct does not amount to gross

negligence that is the proximate cause of the injury or damage. Mich. Comp. Laws

§ 691.1407(2). Here the only negligence claim against Defendant Lieutenant

McIntire is embedded in Count 7 “Intentional & Negligent Infliction of Emotional

Distress.” However, such a negligence claim under Michigan law is limited to

situations involving a plaintiff witnessing the negligent injury to an immediate

family member and suffering severe mental distress with physical manifestations

as a result. Gillespie v. City of Battle Creek, 100 F. Supp. 3d 623, 634 (W.D. Mich.

2015). Those facts are not present here. And this negligence claim is otherwise

barred under §1707(2) because Plaintiff cannot establish that Defendant Lieutenant

McIntire was “the” proximate cause of his alleged injuries. The statute’s reference

to “the proximate cause” requires a showing that the government employee’s grossly

negligent conduct is “the one most immediate, efficient and direct cause of the

injury or damage.” Robinson v Detroit, 613 N.W.2d 307, 317 (Mich. 2000). That

cannot be established on the facts alleged. Thus, Plaintiff’s claim is barred and

should be dismissed.




                                          19
Case 1:18-cv-00124-GJQ-RSK ECF No. 24 filed 04/13/18 PageID.212 Page 27 of 27



                  CONCLUSION AND RELIEF REQUESTED

      Plaintiff’s claims stem from a protracted contested child custody battle. None

of the violations of Plaintiff’s rights involved Defendant Lieutenant McIntire.

Based on the numerous legal bases set forth above, this Court should dismiss all

claims against Defendant Lieutenant McIntire with prejudice and grant such other

relief as this Honorable Court deems appropriate.



                                              Respectfully submitted,

                                              Bill Schuette
                                              Attorney General


                                              /s/ Sarah R. Robbins
                                              Sarah R. Robbins (P81944)
                                              Rock Wood (P411181)
                                              Attorneys for Defendant McIntire
                                              Michigan Department of Attorney
                                              General
                                              State Operations Division
                                              P.O. Box 30754
                                              Lansing, MI 48909
                                              (517) 373-1162
                                              RobbinsS@michigan.gov

Dated: April 13, 2018




                                         20
